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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                        )
                                                )
VS.                                             )             CASE NO.: 3:07-CR-170-K (04)
                                                )
HECTOR ALVAREZ-SANCHEZ




              ORDER ACCEPTING REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE
                       CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning

Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning

the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court

accepts the plea of guilty and Plea Agreement and Defendant is hereby adjudged guilty.

Sentence will be imposed in accordance with the Court’s scheduling order.


       SIGNED this 2nd day of November, 2007.




                                                    ED KINKEADE
                                                    UNITED STATES DISTRICT JUDGE
